Case 2:24-cv-00887-JNP-CMR            Document 9        Filed 12/04/24     PageID.59       Page 1 of
                                             40




 Tanner J. Bean (A17128)
 tbean@fabianvancott.com
 Anna P. Christiansen (A17518)
 achristiansen@fabianvancott.com
 FABIAN VANCOTT
 95 South State Street, Suite 2300
 Salt Lake City, UT 84111-23323
 Telephone: (801) 531-8900
 Attorney for Plaintiffs

                         IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF UTAH

  BRIDGER LEE JENSEN, an individual;
  SINGULARISM, a non-profit corporation;
  PSYCHE HEALING AND BRIDGING,                            MOTION FOR TEMPORARY
  LLC dba PSYCHEDELIC THERAPY                             RESTRAINING ORDER AND
  JOURNEY; a limited liability company;                   PRELIMINARY INJUNCTION

                  Plaintiffs,                                Civil No. 2:24-cv-00887-JNP
  vs.
                                                                 Judge Jill N. Parrish
  UTAH COUNTY, a political subdivision,
  PROVO CITY, a political subdivision;                  (Removed from Fourth Judicial District
  JEFFREY GRAY, an individual; TROY                   Court, Utah County, State of Utah, Case No.
  BEEBE, an individual; BRIAN WOLKEN,                                240406123)
  an individual; JACKSON JULIAN, an
  individual; JOHN DOES 1-4, individuals;


                  Defendants.


        Plaintiffs Bridger Lee Jensen, Singularism, and Psyche Healing and Bridging LLC dba

 Psychedelic Therapy Journey (collectively, “Singularism”), by and through their counsel, hereby

 file this Motion for Temporary Restraining Order and Preliminary Injunction to preserve the status

 quo and protect against Defendants’ violation of Plaintiffs’ constitutional and statutory rights to

 free exercise of religion.
                                                  i
Case 2:24-cv-00887-JNP-CMR      Document 9       Filed 12/04/24      PageID.60      Page 2 of
                                       40




                               TABLE OF CONTENTS
 TABLE OF CONTENTS ………………………………………………………………                                              ii
 TABLE OF AUTHORITIES ………………………………………………………….                                            iii
 INTRODUCTION ……………………………………………………………………..                                               1
 RELIEF SOUGHT AND GROUNDS FOR RELIEF ……………………………….                                      2
 STATEMENT OF FACTS ……………………………………………………………                                              2
 ARGUMENT …………………………………………………………………………..                                                 9
    I.    PLAINTIFFS MEET EACH REQUIREMENT FOR A TEMPORARY
          RESTRAINING ORDER AND PRELIMINARY INJUNCTION. …….                              9
          a. Plaintiffs Are Substantially Likely to Prevail on the Merits of Their
             Claims. …………………………………………………………………...                                        10
                 i. The First Amendment to the U.S. Constitution Grants Singularism
                    a Religious Exemption for the Free Exercise of Its Religion. …….     10
                ii. Article I, Section 4 of the Utah Constitution Grants Singularism a
                    Religious Exemption for the Free Exercise of Its Religion. ………       14
                iii. Utah’s Religious Freedom Restoration Act Grants Singularism a
                     Religious Exemption for the Free Exercise of Its Religion. ………      17
                iv. The Utah Code Contains Various Exemptions Which Undermine
                    the Government’s Interest and Indicate There are Less Restrictive
                    Means. …………………………………………………………….                                      22
                 v. Courts and Agencies Permit Sincere Religious Adherents to
                    Conduct Religious Ceremonies with Entheogenic Substances. …..        25
                vi. Strict Scrutiny Requires Plaintiffs’ Religious Exemption from the
                    Utah Controlled Substances Act. …………………………………                        26
          b. Plaintiffs Have Suffered and Will Suffer Irreparable Harm. ………..            30
          c. The Injury to Plaintiffs Greatly Outweighs Any Potential Damage to
             Defendants. ………………………………………………………………                                        30
          d. A Temporary Restraining Order and Preliminary Injunction
             Advance the Public Interest. …………………………………………….                             31
 CONCLUSION ………………………………………………………………………….                                                31




                                            ii
Case 2:24-cv-00887-JNP-CMR                           Document 9              Filed 12/04/24              PageID.61            Page 3 of
                                                            40




                                                TABLE OF AUTHORITIES
                                                                                                                                 Page(s)
 Cases

 Attorney General v. Desilets,
   636 N.E.2d 233 (Mass. 1994) .................................................................................................... 16
 Bostock v. Clayton Cnty., Georgia,
   140 S. Ct. 1731 (2020)............................................................................................................... 11
 Braunfeld v. Brown,
   366 U.S. 599 (1961) ............................................................................................................ 18, 19
 Burwell v. Hobby Lobby Stores, Inc.,
   573 U.S. 682 (2014) ................................................................................................ 17, 18, 19, 20
 Church of Christ v. Metropolitan Board of Zoning Appeals,
   371 N.E.2d 1331 (Ind. Ct. App. 1978) ...................................................................................... 16
 Church of Holy Light of Queen v. Holder,
   443 F. App’x 302 (9th Cir. 2011) .............................................................................................. 26
 Church of Lukumi Babalu Aye, Inc. v. Hialeah,
   508 U.S. 520 (1993) .................................................................................................................. 12
 Church of the Holy Light of the Queen v. Holder,
   584 F. App’x 457 (9th Cir. 2014) ........................................................................................ 26, 29
 City Chapel Evangelical Free Inc. v. City of South Bend,
   744 N.E.2d 443 (Ind. 2001) ....................................................................................................... 16
 City of Boerne v. Flores,
   521 U.S. 507 (1997) .................................................................................................................. 18
 City of Woodlinville v. Northshore United Church of Christ,
   211 P.3d 406 (Wash. 2009) ....................................................................................................... 16
 Core Progression Franchise LLC v. O’Hare,
   2022 WL 1741836 (10th Cir. May 31, 2022) ............................................................................ 30
 Coulee Catholic Schs. v. Labor & Indus. Review Comm’n,
   768 N.W.2d 868 (Wis. 2009) .................................................................................................... 16
 Davis v. The Church of Jesus Christ of Latter-day Saints,
   852 P.2d 640 (Mont. 1993)........................................................................................................ 16
 Dedman v. Board,
   740 P.2d 28 (Haw. 1987) ........................................................................................................... 16
 Employment Division, Department of Human Resources of Oregon v. Smith,
   494 U.S. 872 (1990) ...................................................................................................... 12, 13, 24
 Foltin v. Roman Catholic Bishop,
   871 A.2d 1208 (Me. 2005) ........................................................................................................ 16
 Fulton v. City of Philadelphia, Pennsylvania,
   141 S. Ct. 1868 (2021)................................................................................................... 11, 12, 13
 Gipson v. Brown,
   749 S.W.2d 297 (Ark. 1988) ..................................................................................................... 16


                                                                    iii
Case 2:24-cv-00887-JNP-CMR                           Document 9              Filed 12/04/24              PageID.62            Page 4 of
                                                            40




 Gonzales v. O Centro Espírita Beneficente União do Vegetal,
   546 U.S. 418 (2006) ...................................................................................................... 13, 19, 25
 Harmon v. City of Norman, Oklahoma,
   981 F.3d 1141 (10th Cir. 2020) ................................................................................................. 10
 Heideman v. S. Salt Lake City,
   348 F.3d 1182 (10th Cir. 2003) ................................................................................................. 30
 Hobby Lobby Stores, Inc. v. Sebelius,
   723 F.3d 1114 (10th Cir. 2013) ................................................................................................. 10
 Holt v. Hobbs,
   574 U.S. 352 (2015) .................................................................................................................. 17
 Humphrey v. Lane,
   728 N.E.2d 1039 (Ohio 2000) ................................................................................................... 16
 In re Brown,
   478 So. 2d 1033 (Miss. 1985).................................................................................................... 16
 Janny v. Gamez,
   8 F.4th 883 (10th Cir. 2021) ................................................................................................ 11, 12
 Jeffs v. Stubbs,
   970 P.2d 1234 (Utah 1998).................................................................................................. 14, 15
 Kennedy v. Bremerton Sch. Dist.,
   597 U.S. 507 (2022) ...................................................................................................... 10, 11, 12
 Larson v. Cooper,
   90 P.3d 125 (Alaska 2004) ........................................................................................................ 16
 Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania,
   140 S. Ct. 2367 (2020)............................................................................................................... 17
 Lower v. Bd. of Dirs. of the Haskell Cnty. Cemetery Dist.,
   56 P.3d 235 (Kan. 2002) ............................................................................................................ 16
 Masterpiece Cakeshop, Ltd. v. Colorado Civil Rights Comm’n,
   138 S. Ct. 1719 (2018)............................................................................................................... 12
 Matter of Browning,
   476 S.E.2d 465 (N.C. Ct. App. 1996) ........................................................................................ 16
 McCready v. Hoffius,
   586 N.W.2d 723 (Mich. 1998) .................................................................................................. 16
 Hill-Murray Federation of Teachers v. Hill- Murray High School,
   487 N.W.2d 857 (Minn. 1992) .................................................................................................. 16
 Munns v. Martin,
   930 P.2d 318 (Wash. 1997) ....................................................................................................... 16
 Catholic Charities v. Serio,
   859 N.E.2d 459 (N.Y. 2006) ..................................................................................................... 16
 Porth v. Roman Catholic Diocese,
   532 N.W.2d 195 (Mich. Ct. App. 1995) .................................................................................... 16
 Rasheed v. Comm’r of Corr.,
   845 N.E.2d 296 (Mass. 2006) .................................................................................................... 16
 Rocky Mountain Gun Owners v. Polis,
   121 F.4th 96 (10th Cir. 2024) .................................................................................................... 10

                                                                    iv
Case 2:24-cv-00887-JNP-CMR                             Document 9               Filed 12/04/24              PageID.63              Page 5 of
                                                              40




 Rupert v. Portland,
   605 A.2d 63 (Me. 1992) ............................................................................................................ 16
 Salt Lake City Corp. v. Salt Lake City Civ. Serv. Comm'n,
   2006 UT App 47 ........................................................................................................................ 26
 Sherbert v. Verner,
   374 U.S. 398 (1963) .................................................................................................................. 13
 Sierra Club, Inc. v. Bostick,
   539 F. App’x 885 (10th Cir. 2013) ............................................................................................ 30
 Snyder v. Murray City Corp.,
   124 F.3d 1349 (10th Cir. 1997) ................................................................................................. 14
 Snyder v. Murray City Corp.,
   2003 UT 13, 73 P.3d 325........................................................................................................... 14
 Soc’y of Separationists, Inc. v. Whitehead,
   870 P.2d 916 (Utah 1993).......................................................................................................... 14
 St. John’s Lutheran Church v. State Comp. Ins. Fund,
   830 P.2d 1271 (Mont. 1992)...................................................................................................... 16
 State ex rel. Swann v. Pack,
   527 S.W.2d 99 (Tenn. 1975) ..................................................................................................... 16
 State v. Evans,
   796 P.2d 178 (Kan. Ct. App. 1990) ........................................................................................... 16
 State v. Everly,
   146 S.E.2d 705 (W.Va. 1966) ................................................................................................... 16
 State v. Green,
   2004 UT 76 ................................................................................................................................ 15
 State v. Hershberger,
   462 N.W.2d 393 (Minn. 1990) .................................................................................................. 16
 State v. Holm,
   2006 UT 31, 137 P.3d 726......................................................................................................... 15
 State v. Loudon,
   857 S.W.2d 878 (Tenn. Crim. App. 1993) ................................................................................ 16
 State v. Mack,
   173 N.H. 793, 249 A.3d 423 (2020) .................................................................................... 16, 26
 State v. Miller,
   549 N.W.2d 235 (Wis. 1996) .................................................................................................... 16
 State v. Mooney,
   2004 UT 49, 98 P.3d 420........................................................................................................... 26
 State v. Victor,
   15–339 (La. App. 5 Cir. 5/26/16), 195 So. 3d 128 .................................................................... 16
 Summum v. Pleasant Grove City,
   2015 UT 31, 345 P.3d 1188....................................................................................................... 14
 Swanner v. Anchorage Equal Rights Comm’n,
   868 P.2d. (Alaska 1994) ............................................................................................................ 16
 Tanzin v. Tanvir,
   592 U.S. 43 (2020) .............................................................................................................. 17, 18

                                                                        v
Case 2:24-cv-00887-JNP-CMR                             Document 9               Filed 12/04/24               PageID.64              Page 6 of
                                                              40




 Thomas v. Review Bd. of Ind. Employment Security Div.,
   450 U.S. 707 (1981) .................................................................................................................. 11
 Toledo v. Nobel-Sysco, Inc.,
   892 F.2d 1481 (10th Cir. 1989) ................................................................................................. 26
 United States v. Boyll,
   968 F.2d 21 (10th Cir. 1992) ..................................................................................................... 26
 Verlo v. Martinez,
   820 F.3d 1113 ...................................................................................................................... 10, 31
 Wisconsin v. Yoder,
   406 U.S. 205 (1972) ...................................................................................................... 11, 13, 31
 Wolf v. Sundquist,
   955 S.W.2d 626 (Tenn. App. 1997) .......................................................................................... 16

 Statutes

 42 U.S.C. § 1996a ......................................................................................................................... 24
 42 U.S.C. § 2000bb-1 ................................................................................................................... 17
 775 Ill. Comp. Stat. 35/1 to 35/99................................................................................................. 16
 Ala. Const. art. I § 3.01 ................................................................................................................. 16
 Ariz. Rev. Stat. §§ 41-1493 to 41-1493.02 ................................................................................... 16
 Ark. Code §§ 16-123-401 to 16-123-407 ..................................................................................... 16
 Article I, Section 4 of the Utah Constitution ................................................................ 2, 14, 15, 27
 Article III, Section 1 of the Utah Constitution.............................................................................. 15
 Conn. Gen. Stat. § 52-571b........................................................................................................... 16
 Fla. Stat. §§ 761.01 to 761.05 ....................................................................................................... 16
 Kan. Stat. § 60-5301 to 60-5305 ................................................................................................... 16
 Ky. Rev. Stat. § 446.350 ............................................................................................................... 16
 La. Rev. Stat. §§ 13:5231 to 13:5242 ........................................................................................... 16
 Miss. Code § 11-61-1.................................................................................................................... 16
 Mo. Stat. §§ 1.302-1.307 .............................................................................................................. 16
 Mont. Code §§ 27-33-101 to 27-33-105 ....................................................................................... 16
 N.D. Cent. Code § 14-02.4-08.1 ................................................................................................... 16
 N.M. Stat. §§ 28-22-1 to 28-22-5 ................................................................................................. 16
 Okla. Stat. tit. 51, §§251-258 ........................................................................................................ 16
 PL 103–344 ................................................................................................................................... 24
 R.I. Gen. Laws §§ 42-80.1-1 to 42-80.1-4 .................................................................................... 16
 S.C. Code §§ 1-32-10 to 1-32-60 .................................................................................................. 16
 S.D. Codified Laws § 1-1A-4 ....................................................................................................... 16
 Tenn. Code § 4-1-407 ................................................................................................................... 16
 Tex. Civ. Prac. & Rem. Code §§ 110.001 to 110.012 .................................................................. 16
 Title 58 of the Utah Code.............................................................................................................. 28
 U.S. Const. amend. I ..................................................................................................................... 11
 Utah Code § 34A-5-115 ................................................................................................................ 23
 Utah Code § 58-37-2(1)(w) .......................................................................................................... 24
                                                                       vi
Case 2:24-cv-00887-JNP-CMR                               Document 9                Filed 12/04/24               PageID.65               Page 7 of
                                                                40




 Utah Code § 58-37-3.5 ............................................................................................................ 22, 28
 Utah Code § 58-37-3.6(2)-(3) ....................................................................................................... 23
 Utah Code § 58-37-3.7(2)-(5) ....................................................................................................... 23
 Utah Code § 58-37-3.8 .................................................................................................................. 23
 Utah Code § 58-37-8(12) .............................................................................................................. 24
 Utah Code § 58-60-102(7) ............................................................................................................ 24
 Utah Code § 58-60-103(1)(a)........................................................................................................ 24
 Utah Code § 58-60-107(2) ............................................................................................................ 25
 Utah Code § 63G-33-101 .............................................................................................................. 20
 Utah Code § 63G-33-201(1) ......................................................................................................... 21
 Va. Code § 57-1 ............................................................................................................................ 16
 W. Va. Code § 35-1A-1 ................................................................................................................ 16

 Regulations

 21 C.F.R. § 1307.31 ...................................................................................................................... 24

 Other Authorities

 S.B. 150 ......................................................................................................................................... 20
 S.B. 266......................................................................................................................................... 22
 SB0150.......................................................................................................................................... 20
 SB0266.......................................................................................................................................... 22
 Senate – 2024 ................................................................................................................................ 21
 Smith decision.,
   What Goes Around Comes Around: The New Relevancy of State Constitution Religion Clauses
   ”38 Val. U. L. Rev. 353 (2004) ................................................................................................. 15




                                                                         vii
Case 2:24-cv-00887-JNP-CMR               Document 9      Filed 12/04/24      PageID.66       Page 8 of
                                                40




                                          INTRODUCTION

        With full knowledge of Singularism’s sincere religious belief that sacramental psilocybin

 usage is essential to accessing the divine, Defendants detained Singularism’s founder, searched its

 spiritual center, seized its sacramental psilocybin and other items, and threatened Singularism’s

 landlord to evict Singularism from its spiritual center. These unconstitutional acts were intentional.

 Utah County Attorney Jeffrey Gray, with knowing and reckless disregard for the law and

 Plaintiffs’ rights, instructed Provo City Detective Julian and other officers that no exemption from

 the Utah Controlled Substances Act for psilocybin is ever proper, even for sincere religious

 believers who pose no harm to the public.

        Defendants’ position is plainly wrong. It is ignorant of the long history of clearly

 established law regarding religious free exercise in this country. The First Amendment protects

 Plaintiffs’ religious worship, the Utah Constitution protects it in greater force, and the newly

 passed Utah Religious Freedom Restoration Act’s protections are greater still. Defendants

 grievously erred when they refused to even begin the nuanced analysis which is focused on

 Plaintiffs’ specific religious needs.

        The Court should immediately grant a temporary restraining order and thereafter a

 preliminary injunction enjoining Defendants’ constitutional and statutory violations of Plaintiffs’

 free exercise. Plaintiffs’ unquestionable religious sincerity and their record of conducting religious

 ceremonies without any effect on public safety, paired with the constitutional and statutory

 authorities described below, demonstrate Plaintiffs will prevail in this matter. They have already

 been irreparably harmed. Allowing Defendants’ egregious conduct to continue will wipe

 Singularism off the map, devastate its adherents, and destroy the livelihoods of its clergy who run


                                                   1
Case 2:24-cv-00887-JNP-CMR                Document 9       Filed 12/04/24   PageID.67       Page 9 of
                                                 40




 Singularism’s non- and for-profit organizations. In contrast, no damage comes to Defendants by

 an injunction. Thus, an injunction is in the public interest, protecting what the Utah Legislature

 said, only months ago, was a “fundamental right,” and what the U.S. Supreme Court has called

 “indispensable to life in a free and diverse Republic.”

                       RELIEF SOUGHT AND GROUNDS FOR RELIEF

         The Court should enjoin Defendants from burdening Plaintiffs’ religious free exercise. The

 injunction should expressly permit Plaintiffs to practice their entheogenic religion and perform

 psilocybin ceremonies. The injunction should prohibit Defendants from taking any action to limit

 Plaintiffs’ free exercise of religion.

                                      STATEMENT OF FACTS

         1.      Singularism is a small, minority faith which views the ingestion of sacramental

 psilocybin tea as central to accessing the divine. Verified Compl., ECF 2-2, at ¶¶ 2-3, 16, 24; Decl.

 of Bridger Jensen, attached as Exhibit A, at ¶¶ 18-27.

         2.      Singularism was founded by Plaintiff Bridger Lee Jensen, who, following years of

 various transcendent and spiritual experiences facilitated through psilocybin, felt compelled to

 share his spiritual enlightenment with the community. Mr. Jensen founded Singularism first as a

 community of believers, and then, second, as a non-profit organization, together with an associated

 for-profit organization, Psyche Healing and Bridging, LLC. Verified Compl. at ¶¶ 1-3, 16-21; see

 generally Ex. A.

         3.      Singularism has openly and publicly operated its religious community since

 November 2023. Verified Compl. at ¶¶ 18-24, 31-32; Ex. A, at ¶ 18. Singularism even invited the




                                                  2
Case 2:24-cv-00887-JNP-CMR             Document 9       Filed 12/04/24       PageID.68       Page 10 of
                                               40




 Provo City Mayor, the Provo City Council, and the Utah County Attorney’s Office to tour its

 spiritual center in Provo shortly after opening. See letters attached together as Exhibit B.

        4.      One of Singularism’s principal beliefs is that psilocybin ceremonies permit a

 “voyager” to access the divine and thereby “write their own scripture” by interpreting and

 recording their experiences. Verified Compl. at ¶¶ 20, 24; Ex. A, at ¶ 20. Singularism has set forth

 extensive statements regarding its beliefs and doctrine. See, e.g., Exhibits P, Q, and R.

        5.      Singularism also believes that the American cultural line drawn between religion

 and science is illusory and that the two fields are complementary and interwoven. As such,

 Singularism takes full advantage, for religious purposes, of the benefits and wisdoms of clinical

 practices used in mental health therapy, integrating a broad collection of scientific and medical

 research. Verified Compl. at ¶ 25; Ex. A, at ¶¶ 17, 19, 24; see, e.g., research utilized by Plaintiffs,

 attached as Exhibit O.

        6.      Before administering its ceremonial and sacramental psilocybin to its voyagers,

 Singularism puts interested individuals through a screening process. During this multi-stage

 screening process, Singularism evaluates each voyager’s physical, mental, and emotional

 suitability and readiness to participate in a psilocybin ceremony. As part of this multi-stage

 screening process, Singularism also evaluates the voyager’s religious sincerity and prohibits

 individuals attempting to ingest psilocybin solely for secular or recreational purposes from

 participating in its ceremonies. Verified Compl. at ¶ 26; Ex. A, at ¶ 19.

        7.      Singularism requires the individual to sign an attestation of their religious sincerity

 before participating in a psilocybin ceremony. The document requires the voyagers to to protect

 their well-being following a voyage. Verified Compl. at ¶ 27; See Exhibit C.


                                                   3
Case 2:24-cv-00887-JNP-CMR            Document 9        Filed 12/04/24     PageID.69      Page 11 of
                                              40




        8.       Singularism turns away individuals that it deems religiously insincere, as well as

 individuals for which a psilocybin ceremony could potentially be harmful. Verified Compl. at ¶

 28; Ex. A, at ¶ 19.

        9.       Singularism’s voyagers have reported significant and varied religious experiences.

 As a few examples:

              a. One voyager described his experience as “profoundly transformative,” that he

                 “experienced an overwhelming sense of unity with all things,” which was a “deeply

                 religious encounter with the sacredness of existence.” See Decl. of Allan Johnson,

                 attached as Exhibit D, at ¶ 7.

              b. Another voyager described her experience walking “alongside Jesus,” encountering

                 deceased relatives, embracing “Heavenly Mother and Father [and] feeling their

                 unconditional love and reassurance.” See Decl. of Brandi Lee, attached as Exhibit

                 E, at ¶ 9.

              c. Another voyager described that she “experienced an overwhelming sense of joy,

                 inner peace, and enlightenment,” which was “nothing short of transcendent—a

                 deeply spiritual encounter that connected me to something greater than myself.”

                 See Decl. of Marjorie Johnson, attached as Exhibit F, at ¶ 7.

              d. Others have had similar experiences. See Decl. of Jennifer Eden, attached as Exhibit

                 G; Decl. of Jake Wood, attached as Exhibit H.

        10.      Because of Singularism’s convictions, it openly shares about its mission and invites

 others to learn more about its beliefs. As part of Singularism’s missionary efforts, it has begun to

 develop processes and procedures whereby others can become certified spiritual guides in its


                                                   4
Case 2:24-cv-00887-JNP-CMR           Document 9         Filed 12/04/24   PageID.70      Page 12 of
                                             40




 doctrines to expand the reach of its spiritual movement. Presently, only a handful of these guides

 have received Singularism’s religious training. They are taught to abide by and conduct the same

 screening procedures discussed above. Verified Compl. at ¶ 31.

        11.     Singularism has operated peacefully and without any private or public incident or

 complaint related to it or any of its voyagers since it opened the doors of its spiritual center.

 Verified Compl. at ¶ 32; Ex. A, at ¶ 16, 19, 21.

        12.     However, on November 11, 2024, law enforcement from the Provo City Police

 Department—Detective Julian and Officer Does 1-4—presented at Singularism’s spiritual center

 with a warrant to search the premises and seize certain items. Verified Compl. at ¶ 33; see search

 warrant attached as Exhibit I.

        13.     For roughly two hours, law enforcement searched Singularism’s spiritual center,

 detained Mr. Jensen, and interrogated him regarding his and Singularism’s religious practices.

 Verified Compl. at ¶ 34.

        14.     From the outset, Detective Julian explained that he and Officers Does had been

 instructed to obtain the search warrant by Utah County Attorney, Defendant Gray. Detective Julian

 told Mr. Jensen that he was fully aware of Singularism’s claim to sincere religious exemption, but

 that the Utah County Attorney had instructed him that there does not exist, and cannot exist, any

 religious exemptions from the Utah Controlled Substances Act related to psilocybin. Verified

 Compl. at ¶ 35.

        15.     Detective Julian explained that he had, undercover, posed as an individual

 interested in Singularism, going through some of the initial stages of Singularism’s screening

 process. Verified Compl. at ¶ 36.


                                                    5
Case 2:24-cv-00887-JNP-CMR             Document 9      Filed 12/04/24      PageID.71          Page 13 of
                                               40




        16.     At no point during law enforcement’s search and seizure did Detective Julian or

 Officers Does 1-4 appear to doubt Mr. Jensen or Singularism’s religious sincerity that psilocybin

 ceremonies are a vital and core part of their religious practice. Verified Compl. at ¶ 37.

        17.     Rather, Mr. Jensen explained in detail the integral nature of psilocybin to

 Singularism’s religious practices, outlining Singularism’s screening mechanisms, the other

 procedures it uses to ensure safety for its voyagers, and that psilocybin tea or any other form of

 psilocybin is never administered or distributed to anyone outside one of Singularism’s ceremonies.

 Verified Compl. at ¶ 38.

        18.     At one point, Detective Julian and/or Officers Does indicated they would be seizing

 certain records kept by Singularism. When Mr. Jensen saw which records they were referring to,

 it caused him immense grief, as these were the records in which Mr. Jensen and other of

 Singularism’s spiritual guides recorded the personalized scripture for Singularism’s voyagers. Mr.

 Jensen expressed that although the seizure of Singularism’s sacramental psilocybin was

 devastating, seizure of this sacred scripture would be even more devastating. Verified Compl. at ¶

 40.

        19.     In total, law enforcement removed psilocybin, a black grinder, a black scale, and a

 gold scale used in preparing Singularism’s sacramental psilocybin tea, THC, and “Bridging Model

 Paperwork” from Singularism’s religious center. See Exhibit J. Although not recorded on the

 officers’ seizure receipt, law enforcement also seized additional Psyche Bridging and Healing’s

 business records, as well as some of Singularism’s voyager’s attestations to their religious

 sincerity. Verified Compl. at ¶ 41.




                                                  6
Case 2:24-cv-00887-JNP-CMR            Document 9       Filed 12/04/24      PageID.72       Page 14 of
                                              40




        20.     At the end of the encounter, Detective Julian told Mr. Jensen that he recommended

 Singularism cease all its religious practices. Verified Compl. at ¶ 42.

        21.     The officers released Mr. Jensen without arrest. However, they told him to expect

 criminal charges. Verified Compl. at ¶ 43.

        22.     Upon law enforcement’s departure, Mr. Jensen was left in an immense state of

 distress, facing the reality that Defendants were placing before him an impossible choice: (1)

 practice his religion and continue the religious practices of Singularism under the prospect of

 escalated threats from law enforcement and promised prosecution or (2) give up his sincerely held

 religious beliefs, disband Singularism, give up his and other clergy’s livelihoods through Psyche

 Healing and Bridging, and turn away voyagers expecting to access the divine under Singularism’s

 spiritual care. Verified Compl. at ¶ 44.

        23.     This distress continues to the present and increased when, the next day, on

 November 12, 2024, Defendant Wolken served Singularism’s landlord with a letter, threatening

 that if he did not evict Singularism from their rented space, that law enforcement would pursue the

 landlord for civil abatement. Verified Compl. at ¶ 45; See Exhibit K.

        24.     The letter, written with a header containing Defendant Beebe’s name, asserted that

 Singularism was performing “illegal and dangerous activity” and that “residents in that

 neighborhood . . . are living in unnecessary fear and danger . . . .” Verified Compl. at ¶ 46; Ex. K.

        25.     As stated above, no incidents of any kind have ever occurred at or around

 Singularism’s religious center related to Singularism’s religious practices. Neither Singularism,

 nor its landlord, are aware of any complaint regarding Singularism’s spiritual practices. Verified

 Compl. at ¶ 47.


                                                  7
Case 2:24-cv-00887-JNP-CMR            Document 9        Filed 12/04/24      PageID.73          Page 15 of
                                              40




        26.     Further, others in the Singularism community have observed only the sincere

 religious practice of religion at Singularism’s spiritual center. See Exs. E-H.

        27.     Singularism’s landlord responded to Defendant Wolken and the Provo City Police

 Department. In his letter, he asserted that he understood that Singularism was taking legal action

 to protect their religious rights. Because of that, he asserted that if he evicted Singularism as law

 enforcement desired, he would expose himself to potential liability for religious discrimination in

 his renting practices. Verified Compl. at ¶ 48; see eviction letter, attached as Exhibit K.

        28.     The landlord also stated that he had not observed any behavior that would prompt

 any concern. He stated that his employees present in the same building have not reported feeling

 unsafe or threatened by Singularism’s presence. Additionally, he stated that he had not seen any

 questionable activity nor any unsavory people coming or going from Singularism’s spiritual center.

 He stated that, if anything, “they have been exemplary tenants.” Verified Compl. at ¶ 49; Ex. L.

        29.     As a result of Defendants’ actions, Mr. Jensen was detained and Plaintiffs have

 been deprived of the possession and usage of their sacramental psilocybin, have been deprived of

 precious records regarding Singularism’s voyagers, have been placed under threat of eviction, have

 been placed under threat of criminal prosecution and forfeiture, have had their livelihoods

 threatened, and have endured substantial emotional and mental distress. It is anticipated that the

 continued course of Defendants’ conduct will only deepen the present and future harms to

 Plaintiffs’ statutory and constitutional religious rights. For example, Plaintiffs expect that

 Singularism’s religious community will be irreparably diminished, voyagers will no longer feel

 safe participating in a Singularism ceremony, and Psyche Bridging and Healing, as a result, will

 sustain substantial financial losses to the point of closure. Verified Compl. at ¶ 63.


                                                   8
Case 2:24-cv-00887-JNP-CMR              Document 9       Filed 12/04/24      PageID.74       Page 16 of
                                                40




           30.     Defendants appear to have decided not to prosecute very similarly situated religious

 groups, including the Divine Assembly and Psychedelics in the Beehive, which utilize psilocybin,

 and others which utilize other entheogenic substances, such as Oklevueha Native American

 Church and Temple of Hermes. See Verified Compl., at ¶¶ 52-55.

           31.     On November 19, 2024, the Utah Department of Commerce’s Division of

 Professional Licensing (“DOPL”) concluded that Mr. Jensen is entitled to practice mental health

 therapy under the clergy exemption to the Utah Mental Health Professional Practice Act and

 according to the dictates of Singularism’s sacramental ceremonies. See Verified Compl., at ¶¶ 56;

 see email correspondence attached as Exhibit M.

           32.     On November 19, 2024, Singularism filed its Complaint against Defendants in state

 court, along with a motion for temporary restraining order and preliminary injunction. See ECF 2-

 2, 2-3.

           33.     On November 27, 2024, before the state court judge could hear Singularism’s

 motion for temporary restraining order and preliminary injunction, Defendants removed the case

 to this Court. Defendants’ notice of removal did not include a copy of Singularism’s motion for

 temporary restraining order and preliminary injunction, see ECF 2, so the Court set a briefing

 schedule for it to be refiled incorporating federal injunctive frameworks on December 4, 2024, as

 well as a hearing date for the motion on December 13, 2024, see ECF 5.

                                             ARGUMENT

     I.          PLAINTIFFS MEET EACH REQUIREMENT FOR A TEMPORARY
                 RESTRAINING ORDER AND PRELIMINARY INJUNCTION.
           Plaintiffs demonstrate each of the four elements required for the Court to grant their motion

 for a temporary restraining order and preliminary injunction:

                                                    9
Case 2:24-cv-00887-JNP-CMR             Document 9       Filed 12/04/24      PageID.75       Page 17 of
                                               40




          (1) a substantial likelihood that they will ultimately succeed on the merits of their
          suit;
          (2) that they are likely to suffer irreparable harm in the absence of preliminary
          relief;
          (3) this threatened harm outweighs the harm a preliminary injunction may pose to
          the opposing party; and,
          (4) if issued, the injunction will not adversely affect the public interest.

 Rocky Mountain Gun Owners v. Polis, 121 F.4th 96, 112 (10th Cir. 2024) (quotation omitted).

 “The likelihood-of-success and irreparable-harm factors are the most critical in the analysis.” Id.

 (quotation omitted). Additionally, “the third and fourth factors merge when, like here, the

 government is the opposing party.” Id. (quotation omitted).

             a. Plaintiffs Are Substantially Likely to Prevail on the Merits of Their Claims.
          To demonstrate this factor, Plaintiffs must “make a prima facie case showing a reasonable

 probability that they will ultimately be entitled to the relief sought.” Harmon v. City of Norman,

 Oklahoma, 981 F.3d 1141, 1146 (10th Cir. 2020). In “the First Amendment context, the likelihood

 of success on the merits will often be the determinative factor because of the seminal importance

 of the interests at stake.” Id. (cleaned up) (quoting Verlo v. Martinez, 820 F.3d 1113, 1126 (10th

 Cir. 2016 and Hobby Lobby Stores, Inc. v. Sebelius, 723 F.3d 1114, 1145 (10th Cir. 2013) (en

 banc), aff’d, 573 U.S. 682 (2014)). Plaintiffs allege a prima facie case of each of their causes of

 action and that they are likely to ultimately prevail on each of them according to the authorities

 below.

                      i. The First Amendment to the U.S. Constitution Grants Singularism a
                         Religious Exemption for the Free Exercise of Its Religion.
          “Respect for religious expressions is indispensable to life in a free and diverse Republic—

 whether those expressions take place in a sanctuary or on a field, and whether they manifest

 through the spoken word or a bowed head.” Kennedy v. Bremerton Sch. Dist., 597 U.S. 507, 543

                                                  10
Case 2:24-cv-00887-JNP-CMR              Document 9        Filed 12/04/24       PageID.76        Page 18 of
                                                40




 (2022). Indeed, “preserving the promise of the free exercise of religion enshrined in our

 Constitution . . . lies at the heart of our pluralistic society.” Bostock v. Clayton Cnty., Georgia, 140

 S. Ct. 1731, 1754 (2020).

         The First Amendment, applicable to the States under the Fourteenth Amendment, provides

 that “Congress shall make no law . . . prohibiting the free exercise” of religion. U.S. CONST. amend.

 I; Kennedy v. Bremerton Sch. Dist., 597 U.S. 507, 524 (2022); Fulton v. City of Philadelphia,

 Pennsylvania, 141 S. Ct. 1868, 1876 (2021). Singularism’s “religious beliefs need not be

 acceptable, logical, consistent, or comprehensible to others in order to merit First Amendment

 protection.” Fulton, 141 S. Ct. at 1876 (quoting Thomas v. Review Bd. of Ind. Employment Security

 Div., 450 U.S. 707, 714 (1981)). “A way of life that is odd or even erratic but interferes with no

 rights or interests of others is not to be condemned because it is different.” Wisconsin v. Yoder,

 406 U.S. 205, 224 (1972).

         The First Amendment “protects not only the right to harbor religious beliefs inwardly and

 secretly,” but also “the ability of those who hold religious beliefs of all kinds to live out their faiths

 in daily life through the performance of (or abstention from) physical acts.” Kennedy, 597 U.S. at

 524 (quotation omitted). It “guarantees the right of every person to freely choose his own course

 in the matter of religion, free of any compulsion from the state,” so the “government may neither

 compel affirmation of religious beliefs, nor punish the expression of religious doctrines it believes

 to be false.” Janny v. Gamez, 8 F.4th 883, 911 (10th Cir. 2021) (cleaned up).

         To demonstrate a violation of the Free Exercise Clause, a plaintiff must first show “that a

 government entity has burdened his sincere religious practice.” Kennedy, 597 U.S. at 525. “A

 plaintiff states a claim [his or] her exercise of religion is burdened if the challenged action is


                                                    11
Case 2:24-cv-00887-JNP-CMR             Document 9        Filed 12/04/24      PageID.77      Page 19 of
                                               40




 coercive or compulsory in nature.” Janny, 8 F.4th at 911. Such is “not limited to acts motivated by

 overt religious hostility or prejudice” as the Free Exercise Clause has “been applied numerous

 times when government officials interfered with religious exercise not out of hostility or prejudice,

 but for secular reasons.” Id. at 912 (cleaned up).

        Even so, the U.S. Supreme Court held in Employment Division, Department of Human

 Resources of Oregon v. Smith, 494 U.S. 872, 878-82 (1990), that “laws incidentally burdening

 religion are ordinarily not subject to strict scrutiny under the Free Exercise Clause so long as they

 are neutral and generally applicable.” Fulton, 141 S. Ct. at 1876. However, laws intentionally

 burdening religion, laws that are not neutral, and laws that are not generally applicable are subject

 to strict scrutiny under the First Amendment. “Failing either the neutrality or general applicability

 test is sufficient to trigger strict scrutiny.” Kennedy, 597 U.S. at 526.

        For example, “[g]overnment fails to act neutrally when it proceeds in a manner intolerant

 of religious beliefs or restricts practices because of their religious nature.” Fulton, 141 S. Ct. at

 1877 (quoting Masterpiece Cakeshop, Ltd. v. Colorado Civil Rights Comm’n, 138 S. Ct. 1719,

 1730–1732 (2018); Church of Lukumi Babalu Aye, Inc. v. Hialeah, 508 U.S. 520, 531–532

 (1993)). “A government policy will not qualify as neutral if it is specifically directed at religious

 practice,” “discriminates on its face,” or “if a religious exercise is otherwise its object.” Kennedy,

 597 U.S. at 526 (cleaned up).

        Further, a “law is not generally applicable if it invites the government to consider the

 particular reasons for a person’s conduct by providing a mechanism for individualized

 exemptions.” Fulton, 141 S. Ct. at 1877 (cleaned up). In particular, where “the government [may]

 grant exemptions [from a law] based on the circumstances” of each case before it, the law is not


                                                   12
Case 2:24-cv-00887-JNP-CMR            Document 9        Filed 12/04/24      PageID.78        Page 20 of
                                              40




 generally applicable. Id. (pointing to Smith’s explanation of the lack of general applicability

 demonstrated in Sherbert v. Verner, 374 U.S. 398 (1963)). In such instances “where the State has

 in place a system of individual exemptions, it may not refuse to extend that system to cases of

 ‘religious hardship’ without compelling reason.” Id. (quoting Smith). “The creation of a formal

 mechanism for granting exceptions renders a policy not generally applicable, regardless whether

 any exceptions have been given, because it invites the government to decide which reasons for not

 complying with the policy are worthy of solicitude . . . .” Id. at 1879. In other words, the “creation

 of a system of exemptions” undermines governmental contentions that its laws “can brook no

 departures.” Id. at 1882. “A law also lacks general applicability if it prohibits religious conduct

 while permitting secular conduct that undermines the government’s asserted interests in a similar

 way.” Id. at 1877.

        “A government policy can survive strict scrutiny only if it advances interests of the highest

 order and is narrowly tailored to achieve those interests. Put another way, so long as the

 government can achieve its interests in a manner that does not burden religion, it must do so.”

 Fulton, 141 S. Ct. at 1881; see, e.g., generally Yoder, 406 U.S. 205. A government may not

 advance its interests “at a high level of generality” because “the First Amendment demands a more

 precise analysis.” Fulton, 141 S. Ct. at 1881. “Rather than rely on broadly formulated interests,

 courts must scrutinize the asserted harm of granting specific exemptions to particular religious

 claimants.’” Id. (cleaned up) (quoting Gonzales v. O Centro Espírita Beneficente União do

 Vegetal, 546 U.S. 418, 431 (2006)). The question before this Court, then, is not whether the

 government “has a compelling interest in enforcing its non-discrimination policies generally, but

 whether it has such an interest in denying an exception” to Singularism specifically. Id.


                                                  13
Case 2:24-cv-00887-JNP-CMR            Document 9       Filed 12/04/24      PageID.79       Page 21 of
                                              40




                    ii. Article I, Section 4 of the Utah Constitution Grants Singularism a Religious
                        Exemption for the Free Exercise of Its Religion.
        Utah’s constitutional protection for the free exercise of religion exceeds that of the First

 Amendment. Although Utah Constitution, Article I, Section 4 contains the same language as the

 First Amendment—that the State “shall make no law . . . prohibiting the free exercise” of

 religion—the Utah Supreme Court has indicated the two are not to be equated in terms of rigor,

 breadth, or interpretation.

        Since 1993, the Utah Supreme Court has stated that a free exercise analysis conducted

 under the First Amendment “does not control [the] analysis under the Utah Constitution . . . .”

 Soc’y of Separationists, Inc. v. Whitehead, 870 P.2d 916, 930 (Utah 1993); see also Snyder v.

 Murray City Corp., 124 F.3d 1349, 1354 (10th Cir. 1997); Snyder v. Murray City Corp., 2003 UT

 13, 73 P.3d 325; Summum v. Pleasant Grove City, 2015 UT 31, ¶ 7, 345 P.3d 1188. Although it

 has yet to conduct a free exercise analysis under Article I, Section 4, this Court, or the Utah

 Supreme Court by certification of the question, is poised to do so in a case like Singularism’s.

        For example, in Jeffs v. Stubbs, 970 P.2d 1234, 1249 (Utah 1998) the Utah Supreme Court

 stated that although it had not previously “determined whether the free exercise clause of article I,

 section 4 of the Utah Constitution provides protection over and above that provided by the First

 Amendment,” and that it would “not decide that question” in the Jeffs case, the Utah Supreme

 Court proceeded to analyze the case as if it had done precisely that. For its articulation of strict

 scrutiny, the Utah Supreme Court cited to foundational strict scrutiny cases under pre-Smith First

 Amendment caselaw: Yoder and Sherbert. Id. at 1249-50. The Utah Supreme Court thereafter

 found the government’s interest in that case was compelling and that its means of accomplishing



                                                 14
Case 2:24-cv-00887-JNP-CMR            Document 9        Filed 12/04/24     PageID.80       Page 22 of
                                              40




 that interest was the least restrictive possible, thereby stating the government had met its burden

 of proof. Id. at 1250-51.

        Years later, in State v. Green, 2004 UT 76, ¶ 70 n. 1, 99 P.3d 820 (Durrant, J., concurring),

 a concurring opinion indicated two justices of the Utah Supreme Court fully supported the strict

 scrutiny analysis in Jeffs. The opinion cited Justice Durham’s law review article “What Goes

 Around Comes Around: The New Relevancy of State Constitution Religion Clauses” of the same

 year, which analyzed state constitutional free exercise interpretation in the wake of the Smith

 decision. 38 VAL. U. L. REV. 353 (2004). It concluded that these broader interpretations of

 religious liberty “when given effect in today’s pluralistic society, may turn out to be instrumental

 in allowing those with beliefs outside the mainstream to honor their own consciences in the way

 the founders of this nation sought to honor theirs.” Id. at 371.

        Green led the Utah Supreme Court two years later to state that “our constitution may well

 provide greater protection of the free exercise of religion in some respects than the federal

 constitution,” citing to the view expressed by “[a]t least two justices” that “pursuant to the

 guarantees contained in our state constitution, religiously motivated conduct should not be

 burdened by the State unless the burden furthers a compelling state interest and is narrowly tailored

 to serve that interest.” State v. Holm, 2006 UT 31, ¶ 34 n.8, 137 P.3d 726. However, because the

 case was resolved on the unambiguous prohibition of polygamy contained in Article III, Section 1

 of the Utah Constitution, the Utah Supreme Court did not expound further on strict scrutiny. Id. at

 ¶¶ 36-48.

        By confirming strict scrutiny to be the official interpretive framework for Article I,

 Section 4, this Court or the Utah Supreme Court would break no new ground. In fact, in the wake


                                                  15
Case 2:24-cv-00887-JNP-CMR            Document 9       Filed 12/04/24      PageID.81       Page 23 of
                                              40




 of Smith reducing strict scrutiny’s application within the First Amendment framework, twenty-

 five states inserted it back into their legal systems by statute or constitutional provision through

 state-level Religious Freedom Restoration Acts, including several acts passed after 2020. 1 And

 independent of state statutory protections, an additional eleven states interpret their state

 constitution’s free exercise clause to require strict or heightened scrutiny. 2 In other words, Utah


 1
          See Ala. Const. art. I § 3.01; Ariz. Rev. Stat. §§ 41-1493 to 41-1493.02; Ark. Code §§ 16-
 123-401 to 16-123-407; Conn. Gen. Stat. § 52-571b; Fla. Stat. §§ 761.01 to 761.05; Idaho Code
 §§ 73-401 to 73-404; 775 Ill. Comp. Stat. 35/1 to 35/99; Ind. Code § 1.IC34-13-9; Kan. Stat. §
 60-5301 to 60-5305; Ky. Rev. Stat. § 446.350; La. Rev. Stat. §§ 13:5231 to 13:5242; Miss. Code
 § 11-61-1; Mo. Stat. §§ 1.302-1.307; Mont. Code §§ 27-33-101 to 27-33-105; N.M. Stat. §§ 28-
 22-1 to 28-22-5; N.D. Cent. Code § 14-02.4-08.1; Okla. Stat. tit. 51, §§251-258; Pa. Const. Stat.
 tit. 71, §§ 2401 to 2407; R.I. Gen. Laws §§ 42-80.1-1 to 42-80.1-4; S.C. Code §§ 1-32-10 to 1-32-
 60; S.D. Codified Laws § 1-1A-4; Tenn. Code § 4-1-407; Tex. Civ. Prac. & Rem. Code §§ 110.001
 to 110.012; Va. Code § 57-1 to 2.02; W. Va. Code § 35-1A-1.
 2
         See Alaska (Larson v. Cooper, 90 P.3d 125, 131–32, n.31 (Alaska 2004); Swanner v.
 Anchorage Equal Rights Comm’n, 868 P.2d. 274 (Alaska 1994)); Maine (Foltin v. Roman Catholic
 Bishop, 871 A.2d 1208, 1227–30 (Me. 2005); Rupert v. Portland, 605 A.2d 63 (Me. 1992));
 Massachusetts (Rasheed v. Comm’r of Corr., 845 N.E.2d 296, 302–03, 308 (Mass. 2006); Attorney
 General v. Desilets, 636 N.E.2d 233 (Mass. 1994)); Michigan (McCready v. Hoffius, 586 N.W.2d
 723, 729 (Mich. 1998), vacated on other grounds, 593 N.W. 2d 545 (Mich. 1999); Porth v. Roman
 Catholic Diocese, 532 N.W.2d 195 (Mich. Ct. App. 1995)); Minnesota (Hill-Murray Federation
 of Teachers v. Hill- Murray High School, 487 N.W.2d 857 (Minn. 1992); State v. Hershberger,
 462 N.W.2d 393, 396–99 (Minn. 1990)); New Hampshire (State v. Mack, 173 N.H. 793, 249 A.3d
 423 (2020)); New York (Catholic Charities v. Serio, 859 N.E.2d 459, 465–68 (N.Y. 2006)); North
 Carolina (Matter of Browning, 476 S.E.2d 465 (N.C. Ct. App. 1996)); Ohio (Humphrey v. Lane,
 728 N.E.2d 1039 (Ohio 2000)); Washington (City of Woodlinville v. Northshore United Church of
 Christ, 211 P.3d 406, 410 (Wash. 2009); Munns v. Martin, 930 P.2d 318 (Wash. 1997)); Wisconsin
 (Coulee Catholic Schs. v. Labor & Indus. Review Comm’n, 768 N.W.2d 868, 884–87 (Wis. 2009);
 State v. Miller, 549 N.W.2d 235 (Wis. 1996)).
         Additionally, 9 states that have passed state-level RFRA acts also interpret their state
 constitutional protections of free exercise of religion to require strict or heightened scrutiny. See
 Arkansas (Gipson v. Brown, 749 S.W.2d 297 (Ark. 1988)); Hawaii (Dedman v. Board, 740 P.2d
 28 (Haw. 1987)); Indiana (City Chapel Evangelical Free Inc. v. City of South Bend, 744 N.E.2d
 443, 445–51 (Ind. 2001); Church of Christ v. Metropolitan Board of Zoning Appeals, 371 N.E.2d
 1331 (Ind. Ct. App. 1978); Kansas (Lower v. Bd. of Dirs. of the Haskell Cnty. Cemetery Dist., 56
 P.3d 235, 244–46 (Kan. 2002); State v. Evans, 796 P.2d 178 (Kan. Ct. App. 1990)); Louisiana
 (State v. Victor, 15–339 (La. App. 5 Cir. 5/26/16), 195 So. 3d 128); Mississippi (In re Brown, 478
                                                 16
Case 2:24-cv-00887-JNP-CMR            Document 9        Filed 12/04/24      PageID.82       Page 24 of
                                              40




 would join thirty-six other states which regard strict or heightened scrutiny to be the proper

 analysis for free exercise violations.

                   iii. Utah’s Religious Freedom Restoration Act Grants Singularism a Religious
                        Exemption for the Free Exercise of Its Religion.
        This year, the Utah Legislature confirmed by statute that strict scrutiny is the proper

 analysis for free exercise claims by passing the Utah Religious Freedom Restoration Act. That Act

 has its genesis in the U.S. Supreme Court’s 1993 decision in Smith. Shortly afterward, Congress

 rejected the Supreme Court’s determination in Smith that free exercise claims are only subject to

 strict scrutiny absent a neutral and generally applicable law, as described above. To remedy the

 problem, Congress passed the federal Religious Freedom Restoration Act (“RFRA”), 42 U.S.C. §

 2000bb-1 et seq., which, as its name suggests, restores the strict scrutiny analysis for free exercise

 burdens imposed by federal actors. Tanzin v. Tanvir, 592 U.S. 43, 45-46 (2020).

        RFRA “provides very broad protection for religious liberty” given that religious exercise

 is an “unalienable” right, Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania, 140

 S. Ct. 2367, 2383 (2020) (cleaned up) (citing Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682,

 693 (2014)), and provides “greater protection for religious exercise than is available under the First

 Amendment,” Holt v. Hobbs, 574 U.S. 352, 357 (2015). The U.S. Supreme Court has instructed

 that RFRA be “construed in favor of broad protection of religious exercise, to the maximum extent

 permitted . . . .” Burwell, 573 U.S. at 696, 714 (2014). Religious individuals and organizations that



 So. 2d 1033 (Miss. 1985)); Montana (Davis v. The Church of Jesus Christ of Latter-day Saints,
 852 P.2d 640 (Mont. 1993); St. John’s Lutheran Church v. State Comp. Ins. Fund, 830 P.2d 1271,
 1276–77 (Mont. 1992)); Tennessee (State ex rel. Swann v. Pack, 527 S.W.2d 99, 107 (Tenn. 1975);
 Wolf v. Sundquist, 955 S.W.2d 626 (Tenn. App. 1997); State v. Loudon, 857 S.W.2d 878 (Tenn.
 Crim. App. 1993)); West Virginia (State v. Everly, 146 S.E.2d 705 (W.Va. 1966)).

                                                  17
Case 2:24-cv-00887-JNP-CMR             Document 9        Filed 12/04/24      PageID.83       Page 25 of
                                               40




 prevail under RFRA are entitled to damages in addition to injunctive relief. Tanzin, 592 U.S. at

 50-52. However, the U.S. Supreme Court limited RFRA’s application to free exercise violations

 committed by federal government actors. See City of Boerne v. Flores, 521 U.S. 507, 532-36

 (1997).

           The leading case regarding RFRA’s application to a religious business is Hobby Lobby

 Stores. In that case, three faith-infused businesses—a wood-working shop, an arts-and-crafts store,

 and a Christian bookstore—sued, seeking an exemption under RFRA from a federal mandate

 requiring businesses to provide health insurance coverage for contraception under threat of

 massive financial penalties. 573 U.S. at 688, 700-04.

           The U.S. Supreme Court first concluded that these businesses were entitled to RFRA’s

 protection just like an individual would be. Id. at 706-09. The Court made clear that regardless of

 whether the businesses were “closely held corporations,” “nonprofit corporations,” “for-profit

 corporations,” some other corporations, or “natural persons,” they would be within RFRA’s ambit.

 Id. at 708-09. Further, the U.S. Supreme Court determined that “[b]usiness practices that are

 compelled or limited by the tenets of a religious doctrine fall comfortably within” RFRA’s

 definition of “exercise of religion.” Id. at 710. This is true even if the religious business seeks “to

 make a profit as [a] retail merchant[].” Id. (referencing the Court’s decision in Braunfeld v. Brown,

 366 U.S. 599 (1961)). Faith-infused businesses do not lose their RFRA protections just because

 “the purpose of such corporations is simply to make money.” Id. at 710-13.

           Because the religious businesses qualified for RFRA’s protection, the U.S. Supreme Court

 continued the RFRA analysis, beginning with the threshold finding that the businesses were

 substantially burdened by the government’s contraceptive mandate because failure to comply


                                                  18
Case 2:24-cv-00887-JNP-CMR              Document 9    Filed 12/04/24      PageID.84      Page 26 of
                                                40




 would result in steep fines. Id. at 726. The Court then proceeded to evaluate whether the

 government had a “compelling governmental interest.” Id. In the Court’s earlier description of the

 contraceptive mandate, it explained that the mandate applied only to employers with fifty or more

 full time employees, but that there were several exemptions, including for religious nonprofits, as

 well as for grandfathered health plans that existed before March 23, 2010, meaning the

 contraceptive mandate did “not apply to tens of millions of people.” Id. at 696-700. Describing the

 mandate in this way underscored the Court’s subsequent conclusions of the government’s lack of

 a compelling interest and least restrictive means.

         In the U.S. Supreme Court’s compelling interest analysis, it rejected the government’s

 broadly asserted interests such as promoting public health or gender equality, and explained that

 RFRA requires

         a more focused inquiry: It requires the Government to demonstrate that the
         compelling interest test is satisfied through application of the challenged law ‘to
         the person’—the particular claimant whose sincere exercise of religion is being
         substantially burdened. This requires us to look beyond broadly formulated
         interests and scrutinize the asserted harm of granting specific exemptions to
         particular religious claimants—in other words, to look to the marginal interest in
         enforcing [a particular governmental policy] in [the instant case].

 Id. at 726-27 (cleaned up) (quoting Gonzales, 546 U.S. at 430-31). However, for the purposes of

 argument, the Court assumed that an “interest in guaranteeing cost-free access to the four

 challenged contraceptive methods [was] compelling” and proceeded to the last prong of RFRA:

 least restrictive means. Id. at 728.

         The U.S. Supreme Court explained that the “least-restrictive-means standard is

 exceptionally demanding.” Id. It then described other alternatives for the government to achieve

 its interest in guaranteeing cost-free access to contraception which the government had not taken,


                                                 19
Case 2:24-cv-00887-JNP-CMR            Document 9        Filed 12/04/24       PageID.85       Page 27 of
                                              40




 including the existing exemption set up for non-profit religious organizations. Id. at 729-32. The

 Court brushed away an argument that expanding this exemption under RFRA to for-profit religious

 businesses would “lead to a flood of religious objections” that would undermine the government’s

 contraceptive mandate, as the government was unable to provide any evidence of that claim. Id. at

 732-36. Because the Court concluded the government had other, less restrictive means available

 to it to accomplish its interest, the Court held the government had failed to satisfy strict scrutiny

 as expressed under RFRA, thereby granting the three religious businesses an exemption from

 compliance with the government’s contraceptive mandate. Id. at 736.

        Utah’s RFRA builds upon the federal RFRA, providing additional clarity and protections

 to religious individuals and organizations under the strict scrutiny framework, and for free exercise

 violations committed by Utah government actors. Utah’s RFRA was passed unanimously by the

 Utah Legislature in 2024 3 and is now codified at Utah Code § 63G-33-101 et seq.

        Testifying in favor of Utah’s RFRA, Senator Todd Weiler expressed that the bill was

        designed to make sure that religious rights, and especially minority religious rights,
        are protected 20 years from now, 30 years from now, and so this bill would protect,
        in Utah, it would protect the rights of Muslims to worship as they choose, it would
        protect the rights of Jews, and Seventh-day Adventists, and other religions. This is
        not a bill for any one church or any one religion. It is to codify in our code that if
        the government is impeding on someone’s sincerely held religious beliefs that [the
        government is] going to have to show and meet the highest constitutional standard
        in order to do so. . . . This sets the highest constitutional standard that a government
        would have to jump over if its laws were impeding on someone’s religious rights.




 3
          S.B. 150 Exercise of Religion Amendments, UTAH STATE LEGISLATURE, available at,
 https://le.utah.gov/~2024/bills/static/SB0150.html.

                                                  20
Case 2:24-cv-00887-JNP-CMR             Document 9        Filed 12/04/24       PageID.86       Page 28 of
                                               40




 (emphasis added). 4

         The text of Utah’s RFRA provides:

         (2) Except as provided in Subsection (3):
                 (a) a government entity may not substantially burden the free exercise of
                 religion of a person, regardless of whether the burden results from a rule of
                 general applicability; and
                 (b) a person other than a government entity may not seek to apply or enforce
                 government action against another person that substantially burdens the free
                 exercise of religion of the other person, regardless of whether the burden
                 results from a rule of general applicability.
         (3) A government entity or government action may substantially burden a person’s
         free exercise of religion only if the government entity, or any other person seeking
         to enforce government action, demonstrates that the burden on the person’s free
         exercise of religion is:
                 (a) essential to furthering a compelling governmental interest; and
                 (b) the least restrictive means of furthering the compelling governmental
                 interest.
 UTAH CODE § 63G-33-201(2)-(3).

         Utah’s RFRA includes several clarifications and definitions: (1) that the “free exercise of

 religion is a fundamental right and applies to all government action, including action that is facially

 neutral,” UTAH CODE § 63G-33-201(1); (2) that “‘Free exercise of religion’ means the right to act

 or refuse to act in a manner substantially motivated by a sincerely held religious belief, regardless

 of whether the exercise is compulsory or central to a larger system of religious belief,” UTAH CODE

 § 63G-33-101(2); (3) that “Government action” includes statutes and rules, application of those

 statutes and rules, and actions taken by government entities, UTAH CODE § 63G-33-101(3), (6)(b);

 (4) that “‘Substantially burden’ means that government action, directly or indirectly: (i) constrains,

 limits, or denies the free exercise of religion by a person; or (ii) compels a person to act, or fail to


 4
          Senate – 2024 General Session – Day 29, at 2SB150 Exercise of Religion Amendments,
 Weiler,            UTAH           STATE          LEGISLATURE,           available       at,
 https://le.utah.gov/av/floorArchive.jsp?markerID=125928.

                                                   21
Case 2:24-cv-00887-JNP-CMR            Document 9       Filed 12/04/24      PageID.87       Page 29 of
                                              40




 act, in a manner that is contrary to the person’s free exercise of religion,” including by “assessing

 criminal, civil, or administrative penalties or damages,” UTAH CODE § 63G-33-101(6).

        Utah’s RFRA empowers religious individuals and organizations to assert the statute’s

 protections “as a claim or defense in a judicial or administrative proceeding to obtain relief,” UTAH

 CODE § 63G-33-201(4)(1), and awards them attorney fees if they prevail, UTAH CODE § 63G-33-

 201(6). Uniquely, Utah’s RFRA contains a notice of claim provision, but it does not apply where

 the government action burdening religious exercise “is ongoing, and complying with [the notice

 of claim provision] will place an undue hardship on the person or increase the harm suffered by

 the person,” or the burdensome action “is likely to occur or reoccur before the end of the 60-day

 [notice of claim] period . . .” UTAH CODE § 63G-33-201(5).

                   iv. The Utah Code Contains Various Exemptions Which Undermine the
                       Government’s Interest and Indicate There are Less Restrictive Means.
        Utah Psilocybin Act. In 2024, in the same legislative session in which the Utah Legislature

 enacted Utah’s RFRA, the legislature passed S.B. 266 Medical Amendments, 5 now codified within

 the Utah Controlled Substances Act at Utah Code § 58-37-3.5 (“Utah Psilocybin Act”). The Utah

 Psilocybin Act grants broad permission to the largest healthcare systems in the state, UTAH CODE

 § 58-37-3.5(1)(b), to “develop a behavioral health treatment program that includes a treatment

 based on a drug that the healthcare system determines is supported by a broad collection of

 scientific and medical research.” UTAH CODE § 58-37-3.5(2). The word “drug” is defined to mean

 “any form of psilocybin . . . that is in federal Food and Drug Administration Phase 3 testing for an

 investigational drug . . . .” UTAH CODE § 58-37-3.5(1)(a) (emphasis added).


 5
          Medical      Amendments,        UTAH     STATE        LEGISLATURE,        available      at,
 https://le.utah.gov/~2024/bills/static/SB0266.html.

                                                 22
Case 2:24-cv-00887-JNP-CMR           Document 9        Filed 12/04/24      PageID.88      Page 30 of
                                             40




        The Utah Psilocybin Act’s only limitations on these healthcare systems’ development and

 administration of psilocybin programs are that (a) psilocybin be administered “under the direct

 supervision and control of the healthcare system,” (b) psilocybin not be administered to individuals

 under eighteen years old, (c) that the program, in the healthcare system’s own determination, “is

 supported by a broad collection of scientific and medical research,” and (d) before July 1, 2026,

 the healthcare systems “provide a written report to the Health and Human Services Interim

 Committee” regarding the drugs they used, the health outcomes of their patients, any side effects,

 and other information for the Legislature “to evaluate the medicinal value of any drugs.” UTAH

 CODE § 58-37-3.5(3)-(4). Otherwise, these healthcare systems have broad leeway to determine

 how, when, where, to whom, and for what reason psilocybin is administered to their patients. The

 Act insulates individuals administering or participating in the psilocybin program from a violation

 of Utah’s Controlled Substances Act. UTAH CODE § 58-37-3.5(5).

        Medical Cannabis. In addition to the Utah Psilocybin Act, the Utah Controlled Substances

 Act exempts the usage of medical cannabis from prosecution. All that individuals need to do to be

 insulated from prosecution and guilt is to become a medical cannabis cardholder and abide by

 dosage limits. UTAH CODE § 58-37-3.7(2)-(5); see also UTAH CODE § 58-37-3.6(2)-(3); UTAH

 CODE § 58-37-3.8 (limiting law enforcement, government agencies, and political subdivisions

 from expending resources to enforce or take adverse action against individuals and organizations

 regarding medical cannabis). Accordingly, the Utah Code also treats cannabis usage as a protected

 class status in the context of public employment. See UTAH CODE § 34A-5-115.

        Peyote. The Utah Controlled Substances Act also exempts individuals from civil and

 criminal liability for the usage of peyote “in connection with the practice of a traditional Indian


                                                 23
Case 2:24-cv-00887-JNP-CMR           Document 9        Filed 12/04/24      PageID.89      Page 31 of
                                             40




 religion . . .” UTAH CODE § 58-37-8(12). The Act defines “Indian religion” to mean “any religion:

 (i) the origin and interpretation of which is from within a traditional Indian culture or community;

 and (ii) which is practiced by Indians.” UTAH CODE § 58-37-2(1)(w).

        This exemption has its roots in religious freedom. Indeed, as a result of the U.S. Supreme

 Court’s Smith decision described above, Congress not only enacted RFRA, but also amended the

 federal Controlled Substances Act to insert an exemption for peyote usage for Native Americans.

 42 U.S.C. § 1996a; 21 C.F.R. § 1307.31; American Indian Religious Freedom Act Amendments

 of 1994, PL 103–344, October 6, 1994, 108 Stat 3125. That was in direct response to Smith, in

 which case the U.S. Supreme Court denied a religious exemption for peyote for native religious

 purposes. See Smith, 494 U.S. at 874. The Utah Controlled Substances Act’s inclusion of

 substantially the same exemption carries with it the recognition that religious groups for which

 sacramental usage of a controlled substance is a sincerely held part of their religion should be

 exempted from the burdens imposed by the Controlled Substances Act.

        Clergy Exemption. The Utah Mental Health Professional Practice Act also contains an

 exemption for clergy which permits Singularism’s religious guides to practice mental health

 therapy without a license and according to Singularism’s religious beliefs.

        By statute, the practice of mental health therapy includes conducting professional

 evaluations of mental health, mental illness, or emotional disorders; diagnosing such conditions;

 prescribing treatment or prevention plans; and performing psychotherapy. UTAH CODE § 58-60-

 102(7). Unless exempted, the Act requires individuals to be licensed to practice mental health

 therapy. UTAH CODE § 58-60-103(1)(a). Exempt individuals include “a recognized member of the

 clergy while functioning in a ministerial capacity as long as the member of the clergy does not


                                                 24
Case 2:24-cv-00887-JNP-CMR             Document 9       Filed 12/04/24       PageID.90       Page 32 of
                                               40




 represent that the member of the clergy is, or use the title of, a license classification in Subsection

 58-60-102(5).” UTAH CODE § 58-60-107(2)(b). If clergy do not use these license classifications

 and are functioning in a ministerial capacity, they “may engage in acts included within the

 definition of practice as a mental health therapist . . .” UTAH CODE § 58-60-107(2).

        Hypnosis. Additionally, the Utah Mental Health Professional Practice Act exempts

 individuals practicing hypnosis from licensure requirements as long as the individual performing

 the hypnosis: (1) “induces a hypnotic state in a client for the purpose of increasing motivation or

 altering lifestyles or habits, such as eating or smoking, through hypnosis;” (2) “consults with a

 client to determine current motivation and behavior patterns;” (3) “prepares the client to enter

 hypnotic states by explaining how hypnosis works and what the client will experience;” (4) “tests

 clients to determine degrees of suggestibility;” (5) “applies hypnotic techniques based on

 interpretation of consultation results and analysis of client’s motivation and behavior patterns;”

 and (6) “trains clients in self-hypnosis conditioning.” UTAH CODE § 58-60-107(2)(d)(i). Notably,

 this exemption is stricter than the clergy exemption. Where the clergy exemption permits clergy

 to practice mental health therapy, and even diagnose and treat health conditions, the hypnosis

 exemption does not. Compare UTAH CODE § 58-60-107(2)(b) with UTAH CODE § 58-60-

 107(2)(d)(ii).

                    v. Courts and Agencies Permit Sincere Religious Adherents to Conduct
                       Religious Ceremonies with Entheogenic Substances.
        Where courts and agencies are presented with sincere religious individuals and

 organizations for which entheogenic substances are used as a sacramental and ceremonial portal

 to the divine, they have held religious free exercise rights require exemption from the Controlled

 Substances Act. For example, in Gonzales, 546 U.S. 418, the U.S. Supreme Court confirmed a

                                                  25
Case 2:24-cv-00887-JNP-CMR            Document 9       Filed 12/04/24      PageID.91       Page 33 of
                                              40




 religious exemption from the Controlled Substances Act for a Christian Spiritist sect’s communion

 through hoasca, a sacramental tea made from plants from the Amazon. Similarly, the Ninth Circuit

 confirmed an entheogenic church’s religious exemption from the Controlled Substances Act for

 the religious use of Daime tea. See Church of Holy Light of Queen v. Holder, 443 F. App’x 302

 (9th Cir. 2011); Church of the Holy Light of the Queen v. Holder, 584 F. App’x 457 (9th Cir.

 2014). 6 And in April 2024, several federal agencies, including the Drug Enforcement

 Administration, entered into a public settlement agreement with an entheogenic church regarding

 the importation and religious use of ayahuasca, following a federal district court confirming the

 church’s religious exemption. See Exhibit N.

                   vi. Strict Scrutiny Requires Plaintiffs’ Religious Exemption from the Utah
                       Controlled Substances Act.
        Three independent sources of law require this Court to review Defendants’ actions

 burdening Plaintiffs’ religious free exercise under strict scrutiny. First, although the First

 Amendment interprets free exercise claims under strict scrutiny only where the law or action

 burdening religion is not neutral or generally applicable, that is the case here. The Utah Controlled

 Substances Act is so riddled with exemptions for religious and secular purposes that it is not

 generally applicable. The Act, as of 2024, contains a gaping exemption for secular psilocybin

 usage, as well as significant exemptions for secular cannabis and religious peyote usage. Between

 these three exemptions, substantial portions of Utahns are not subject to the general rules of the




 6
        See also Toledo v. Nobel-Sysco, Inc., 892 F.2d 1481 (10th Cir. 1989); United States v. Boyll,
 968 F.2d 21 (10th Cir. 1992) (unpublished); State v. Mooney, 2004 UT 49, 98 P.3d 420; Salt Lake
 City Corp. v. Salt Lake City Civ. Serv. Comm'n, 2006 UT App 47; State v. Mack, 173 N.H. 793,
 817, 249 A.3d 423 (2020).

                                                 26
Case 2:24-cv-00887-JNP-CMR            Document 9        Filed 12/04/24      PageID.92       Page 34 of
                                              40




 Act, and for both secular and religious reasons. Thus, under the First Amendment, strict scrutiny

 applies.

        Second, strict scrutiny also applies under Article I, Section 4 of the Utah Constitution.

 According to the authorities above, Article I, Section 4’s protections for religious free exercise are

 greater than the Supreme Court’s interpretation of the First Amendment, meaning that strict

 scrutiny applies to all free exercise claims, regardless of whether the law or government action is

 neutral or generally applicable.

        Third, Utah’s RFRA explicitly states that strict scrutiny applies regardless of whether the

 law or action at issue is neutral or generally applicable. Accordingly, under all three sources of

 law, the government must justify its burden upon Singularism’s free exercise of religion under

 strict scrutiny, the most exacting constitutional standard.

        Defendants will fail to shoulder their first burden under strict scrutiny: that denying a

 religious accommodation for Singularism to practice its private psilocybin ceremonies is “essential

 to furthering a compelling governmental interest.” Although Defendants have yet to articulate their

 interest, generalized interests, such as public health and safety or uniform application of the law,

 will not suffice. Defendants’ interest must be specific to Singularism. Additionally, whatever

 interests Defendants attempt to articulate, they are significantly undercut by the secular and

 religious exemptions found in the Utah Controlled Substances Act, particularly the exemption

 permitting secular psilocybin usage.

        Should Defendants argue that psilocybin poses a danger to public health or safety, that

 interest would be undermined by the Utah Legislature’s determination that it does not, as this year

 the legislature passed the Utah Psilocybin Act permitting secular usage according to private


                                                  27
Case 2:24-cv-00887-JNP-CMR            Document 9       Filed 12/04/24      PageID.93       Page 35 of
                                              40




 healthcare systems’ discretion. Even the federal government appears to recognize psilocybin does

 not pose the threat to public health or safety once thought, placing it, as the Utah Legislature has

 said in the Utah Psilocybin Act, in the “Food and Drug Administration Phase 3 testing for an

 investigational drug.”

        Should Defendants argue that the Utah Psilocybin Act protects health and safety in a way

 Singularism lacks because of the healthcare system supervision required by the Utah Psilocybin

 Act, that argument, too, would fail. The supervision required by the Act is “the direct supervision

 and control of the healthcare system and the healthcare system’s health care providers who are

 licensed under this title . . .” UTAH CODE § 58-37-3.5 (emphasis added). The Act does not specify

 what type of health care provider must supervise an individual ingesting psilocybin. Thus, any

 licensed mental health care providers licensed under Title 58 of the Utah Code suffice. But that

 requirement, too, is undermined by the fact that the Utah Mental Health Professional Practice Act,

 which is also located in Title 58, exempts clergy from licensure and allows clergy like Mr. Jensen

 to practice mental health therapy according to the dictates of their religion. Thus, Defendants lack

 the ability to articulate any legitimate interest in denying a religious exemption to Singularism.

        Additionally, Defendants’ articulation of government interests is significantly undermined

 by their apparent decision not to prosecute similarly situated religious groups, including the Divine

 Assembly and Psychedelics in the Beehive, which utilize psilocybin, and others which utilize other

 entheogenic substances, such as Oklevueha Native American Church and Temple of Hermes.

 Moreover, another governmental agency—the Utah Department of Commerce’s Division of

 Professional Licensing—concluded, on November 19, 2024, that Mr. Jensen is entitled to practice

 mental health therapy under the clergy exemption to the Utah Mental Health Professional Practice


                                                 28
Case 2:24-cv-00887-JNP-CMR           Document 9        Filed 12/04/24      PageID.94      Page 36 of
                                             40




 Act and according to the dictates of Singularism’s sacramental ceremonies, dismissing a complaint

 made regarding his lack of licensure.

        Even if Defendants could state a compelling governmental interest in denying Singularism

 a religious exemption, Defendants have an obviously less restrictive means of furthering their

 governmental interest. The Utah Psilocybin Act’s secular exemption from the Utah Controlled

 Substances Act for psilocybin usage is the clearest example and is a model Singularism already

 follows: close supervision of individuals, administration only to individuals over eighteen years

 old, and administration which follows a broad collection of scientific and medical research, which,

 in Singularism’s case, is enriched with spiritual wisdom. Defendants will be unable to articulate a

 reason why secular individuals may utilize psilocybin under these circumstances, but religious

 individuals cannot. And although Plaintiffs need not speculate on every other potential less

 restrictive means, the cases of Gonzales, Church of Holy Light of Queen v. Holder, and the DEA’s

 recent settlement agreement all provide additional examples of less restrictive means Defendants

 might follow to advance their governmental interests.

        Because Defendants do not have particularized compelling governmental interests in

 denying Singularism a religious exemption from the Utah Controlled Substances Act, and because

 Defendants have obviously less restrictive means available to accomplish their governmental

 interests, Defendants fail strict scrutiny. Their burden on Plaintiffs’ religious free exercise is

 unlawful, must be enjoined, and Defendants must compensate Plaintiffs for their damages suffered

 and attorney fees incurred to defend their religious free exercise. Accordingly, Defendants lacked

 probable cause to obtain a search warrant, detain Mr. Jensen, search Singularism’s spiritual center,

 or seize any items from Singularism. According to all the above authorities, Plaintiffs will prevail


                                                 29
Case 2:24-cv-00887-JNP-CMR             Document 9        Filed 12/04/24      PageID.95       Page 37 of
                                               40




 in this action, thus establishing the first element for a temporary restraining order and preliminary

 injunction.

               b. Plaintiffs Have Suffered and Will Suffer Irreparable Harm.
        The “loss of First Amendment freedoms, for even minimal periods of time, unquestionably

 constitutes irreparable injury.” Heideman v. S. Salt Lake City, 348 F.3d 1182, 1190 (10th Cir.

 2003). Here, Plaintiffs have already suffered and will continue to suffer continued and increasing

 irreparable harm unless the Court enjoins Defendants’ violations of Plaintiffs’ free exercise of

 religion. Defendants’ seizure of Plaintiffs’ sacramental psilocybin imposes irreparable harm by

 prohibiting Singularism’s central religious practice, thereby stripping Plaintiffs of their

 fundamental right to religious free exercise, a harm which cannot be adequately compensated by

 damages. Defendants’ vows to both prosecute Plaintiffs and evict Singularism from its spiritual

 center will affect even greater violations of Plaintiffs’ free exercise, with the potential to wholly

 wipe out a small minority religion by decimating its religious, physical, and financial assets and

 instilling fear in its adherents. This is precisely the type of harm Rule 65 exists to protect against.

               c. The Injury to Plaintiffs Greatly Outweighs Any Potential Damage to
                  Defendants.
        “In balancing harms, a court looks at whether the moving party’s threatened injury

 outweighs the injury the opposing party will suffer under the injunction.” Core Progression

 Franchise LLC v. O’Hare, No. 21-1151, 2022 WL 1741836, at *3 (10th Cir. May 31, 2022)

 (cleaned up) (quoting, Sierra Club, Inc. v. Bostick 539 F. App’x 885, 889 (10th Cir. 2013)). The

 injuries to Plaintiffs are monumental violations of constitutional and statutory fundamental rights,

 with the potential to destroy an entire religious minority and the livelihoods of its clergy. This

 injury vastly outweighs any potential damage to Defendants. In fact, it is difficult to conceive of

                                                   30
Case 2:24-cv-00887-JNP-CMR             Document 9        Filed 12/04/24       PageID.96        Page 38 of
                                               40




 any potential damage an injunction would impose upon Defendants. Where Singularism is acting

 according to its fundamental right of religious free exercise, and doing so has no impact whatsoever

 on public health, safety, or any other concern for the broader community, Defendants cannot

 articulate any damage. And even if they could, such damage would pale in comparison to that

 Plaintiffs are suffering.

             d. A Temporary Restraining Order and Preliminary Injunction Advance the
                Public Interest.
         Enjoining Defendants’ unconstitutional acts advances the public interest by protecting and

 validating the right to religious free exercise for all sincere religious individuals and organizations.

 While many might not share the beliefs, doctrines, or dogmas espoused by Singularism and its

 adherents, all citizens, especially religious minorities, benefit from a robust protection of the right

 to free exercise of religion. That is precisely what the Utah Legislature enacted Utah’s RFRA to

 do: “to make sure that religious rights, and especially minority religious rights, are protected.” It

 “is always in the public interest to prevent the violation of a party’s constitutional rights.” Verlo,

 820 F.3d at 1127-28.

         Entitlement to the fundamental right of religious free exercise is not predicated upon

 whether religious beliefs are “acceptable, logical, consistent, or comprehensible” to others. Again,

 a “way of life that is odd or even erratic but interferes with no rights or interests of others is not to

 be condemned because it is different.” Yoder, 406 U.S. at 224. Protecting Singularism’s free

 exercise ensures that others’ religious beliefs, including those which presently are viewed as

 mainstream, will remain protected even when they are out of vogue.

                                            CONCLUSION



                                                   31
Case 2:24-cv-00887-JNP-CMR            Document 9        Filed 12/04/24     PageID.97   Page 39 of
                                              40




        For the above reasons, the Court should grant the motion, grant Plaintiffs a temporary

 restraining order, and, thereafter, a preliminary injunction.



                DATED this 4th day of December 2024.


                                                       /s/ Tanner J. Bean
                                                       Tanner J. Bean
                                                       Anna P. Christiansen
                                                       Attorneys for Plaintiffs


                                 PAGE LIMIT CERTIFICATION
        I, Tanner Bean, certify that the foregoing document contains 31 pages and complies with

 DUCivR 7-1(a)(4) and ECF 8 granting the parties stipulated motion for overlength briefing.

                                                       /s/ Tanner J. Bean
                                                       Tanner J. Bean
                                                       Anna P. Christiansen
                                                       Attorneys for Plaintiffs




                                                  32
Case 2:24-cv-00887-JNP-CMR           Document 9       Filed 12/04/24     PageID.98      Page 40 of
                                             40




                                 CERTIFICATE OF SERVICE


        I hereby certify that on the 4th day of December 2024, a true and correct copy of the

 foregoing was served via the Court’s electronic filing service and by email on the following:

                Mitchell A. Stephens
                Lara A. Swensen
                JAMES DODGE RUSSEL & STEPHENS, P.C.
                10 West Broadway, Ste 400
                Salt Lake City, Utah 84101
                (801) 363-6363
                mstephens@jdrslaw.com
                lswensen@jdrslaw.com
                Attorneys for Defendants Utah County and Jeffrey Gray

                J. Brian Jones
                Gary D. Millward
                Richard A. Roberts
                PROVO CITY ATTORNEY’S OFFICE
                445 West Center St.
                Provo, Utah 84601
                (801) 852-6140
                bjones@provo.gov
                gmillward@provo.gov
                rroberts@provo.gov
                Attorneys for Defendants Provo City, Troy Beebe, Brian Wolken, and Jackson
                Julian



                                              /s/ Tanner J. Bean




                                                33
